

People v Washington (2021 NY Slip Op 05299)





People v Washington


2021 NY Slip Op 05299


Decided on October 05, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 05, 2021

Before: Renwick, J.P., Gische, Kapnick, Kennedy, Shulman, JJ. 


Ind. No. 2081/16, 2730/16 Appeal No. 1427914279A Case No. 2018-1828 

[*1]The People of the State of New York, Respondent,
vColin Washington, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Simon Greenberg of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Claire E. Lynch of counsel), for respondent.



Judgments, Supreme Court, New York County (Mark Dwyer, J.), rendered November 6, 2017, convicting defendant, upon his pleas of guilty, of robbery in the third degree and attempted robbery in the third degree, and sentencing him to an aggregate term of two to six years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the sentence for the third-degree robbery conviction to a term of one to three years, and otherwise affirmed.
We find the sentence excessive to the extent indicated. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 5, 2021








